                              NO. 07-10-00277-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
--------------------------------------------------------------------------------
JANUARY 23, 2012
--------------------------------------------------------------------------------

                                       
SCOTT'S MARINA AT LAKE GRAPEVINE LTD., D/B/A SILVER LAKE MARINA, JUST FOR FUN OF NORTH TEXAS, INC. AND SILVER LAKE MARINA STORE, INC., APPELLANTS
                                       
                                      v.
                                       
                       ALLEN JOHNATHAN BROWN, APPELLEE 
--------------------------------------------------------------------------------

                                       
               FROM THE 342ND DISTRICT COURT OF TARRANT COUNTY;
                                       
                NO. 342-213092-05; HONORABLE BOB MCGRATH, JUDGE
--------------------------------------------------------------------------------


Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              DISSENTING OPINION
                                       
	The Court's opinion discusses the admissibility of the opinion testimony of Itzhak Brook, M.D., finds it reliable and concludes the trial court did not err by admitting it.  I express no opinion on that discussion.  As I read appellants' briefs, however, they challenge also the sufficiency of the evidence of causation, arguing it was legally insufficient to support the jury's verdict.  I agree with appellants, and would therefore sustain the issues of appellants on this ground.  
The sufficiency of appellee Allen Johnathan Brown's evidence of causation depends on the testimony of Dr. Brook.  At trial, Dr. Brook testified that enteroviruses are common viral forms.  He explained that enterovirus is found in the feces and other excretions of people "who are sick."  It is also found in saliva and nasal mucus and can survive in water.  Until it dries and dies, it can survive on an object.  Dr. Brook did not know how long enterovirus survives in lake water and offered no opinion how long it survives in wastewater.  Frequently during his testimony Dr. Brook used the terms "sewage" and "wastewater."  On cross-examination he agreed that wastewater meant water containing urine, feces, water from human hand washing, and "possibly other debris."  And sewage referred to fecal material and urine.
Dr. Brook predicated his testimony and opinions on the assumption that Brown was exposed to "wastewater" and "sewage" through the "spillage" in the marina store.  He believed the spillage was sewage because, "[t]he water looked dirty, they (sic) smelled bad, they smelled like sewage."  But he knew not whether an analysis was performed to determine the content of the material to which Brown was exposed.  And without elaboration or source, Dr. Brook stated flatly, "the virus was in the spillage; sewage contains a lot of viruses."
Thus Brown contracted an enterovirus, Dr. Brook opined, either from exposure to human fecal material bearing the virus or water from the hand-washing of individuals who had contacted the virus.  Concerning the means of exposure, Dr. Brook concluded, "there's a lot of possibilities."
Ultimately, Dr. Brook opined that Brown's exposure to "the sewage spillage" was a proximate cause of Brown's viral meningitis and Lemierre's Syndrome diagnoses.  He agreed that to a reasonable medical probability Brown's exposure to the sewage spillage in the marina store was a proximate cause of the "cascade of medical events that [Brown] experienced[.]"  He acknowledged there could be other ways Brown contracted Lemierre's Syndrome besides exposure to the substance in the marina store, but found these possibilities inconsistent with Brown's "story."
Establishing proximate cause requires a sufficient showing of cause in fact and foreseeability.  D. Houston, Inc. v. Love, 92 S.W.3d 450, 454 (Tex. 2002).  Proof based on conjecture, guess or speculation does not satisfy these elements.  IHS Cedars Treatment Center, Inc. v. Mason, 143 S.W.3d 794, 799 (Tex. 2004).  "Cause in fact is established when the act or omission was a substantial factor in bringing about the injuries, and without it, the harm would not have occurred."  Id.  See Southwest Key Program, Inc. v. Gil-Perez, 81 S.W.3d 269, 270, 275 (Tex. 2002) (finding evidence legally insufficient when expert's testimony, which was only evidence of causal nexus, failed to establish it was more probable than not that plaintiff would not have been injured but for defendant's failure to provide ordinary protective gear); Lear Siegler, Inc. v. Perez, 819 S.W.2d 470, 472 (Tex. 1991) ("In order to be [a proximate cause] of another's harm, it is not enough that the harm would not have occurred had the actor not been negligent . . . .  This is necessary, but it is not of itself sufficient.  The negligence must also be a substantial factor in bringing about the plaintiff's harm."  (quoting Restatement (Second) of Torts § 431, comment a (1965))).
In cases of exposure to a toxic substance, there is often no direct evidence of causation.  Merrell Dow Pharmaceuticals, Inc. v. Havner, 953 S.W.2d 706, 715 (Tex. 1997).  Direct experimentation of the toxic substance to which the injured person was exposed cannot be performed and there is, therefore, no reliable direct evidence of specific causation.  Id.  That is the case here.  The substances Brown mopped up were not tested, so there is no direct evidence the substances were contaminated with enterovirus.
Plaintiffs may, nevertheless, rely on epidemiological studies demonstrating an increased risk of their particular injury resulting from exposure to the substance in question to create a fact issue on causation.  Havner, 953 S.W.2d at 715, 720.  
But we are not told of epidemiological studies demonstrating the risk of contracting enterovirus from exposure to wastewater containing human sewage.  Does all human feces contain an enterovirus?  If, as Dr. Brook testified, enterovirus is found in the bodily excretions of people who are "sick," what percentage of the Tarrant County population is "sick" in that way at any one time?  Both testifying experts, Drs. Brook and Sloan, agreed oral-fecal contact is the "most common" and the "primary" means through which an enterovirus enters the body, but such a statement does not tell anything about the likelihood that any particular sample of feces or wastewater contains an enterovirus.  
Nor does testimony that enteroviruses are common in the United States substitute for an epidemiological study demonstrating the likelihood that contact with wastewater containing human sewage will lead to infection by enterovirus.  In short, the evidence shows a culture of Brown's spinal fluid grew the enterovirus and for this purpose I will assume the jury had a basis to conclude he had contact with "wastewater" containing human sewage.  But nothing in this record provides a foundation for Dr. Brook's assumption he contracted the enterovirus from that wastewater.
This case is similar to Schaefer v. Texas Employers' Insurance Association, 612 S.W.2d 199 (Tex. 1980), discussed in Havner, 953 S.W.2d at 711-12.  There it was undisputed that the plaintiff's disease was caused by a bacteria, of which some serotypes were pathogenic to birds.  Id. at 200.  In the opinion of the plaintiff's expert, plaintiff contracted the disease while working in soil containing bird feces.  Id. at 204.  The evidence did not show, however, that the bacteria causing the plaintiff's disease was present in the soil where he worked.  Id. at 202.  Also missing was serotyping to determine whether the plaintiff suffered from an avian strain of the disease.  Id. at 201.  The supreme court accordingly held that the expert's testimony "does no more than suggest a possibility as to how or when [the plaintiff] was exposed to or contracted the disease.  We hold that his opinion is not based upon reasonable medical probability but relies on mere possibility, speculation, and surmise."  Id. at 204.
Despite the fact enteroviruses will survive in environments such as lake water and testimony Brown enjoyed wakeboarding on the lake, the presence of enteroviruses in excretions other than feces, such as saliva and mucus, and his own testimony identifying "lots of possibilities," Dr. Brook ruled out other possible sources of Brown's virus with the conclusion, "I was able to rule out any other causes in this case."  This conclusory approach to other possible sources alone points to the speculative nature of Dr. Brook's opinion on causation.  See Havner, 953 S.W.2d at 720 ("[I]f there are other plausible causes of the injury or condition that could be negated, the plaintiff must offer evidence excluding those causes with reasonable certainty"); E.I. du Pont de Nemours &amp; Co. v. Robinson, 923 S.W.2d 549, 559 (Tex. 1995) (finding failure of expert to rule out other causes of damage rendered opinion little more than speculation).
In the health care liability context, the Texas Supreme Court recently said in Jelinek v. Casas, 328 S.W.3d 526 (Tex. 2010), "When the only evidence of a vital fact is circumstantial, the expert cannot merely draw possible inferences from the evidence and state that `in medical probability' the injury was caused by the defendant's negligence.  The expert must explain why the inferences drawn are medically preferable to competing inferences that are equally consistent with the known facts.  Thus, when the facts support several possible conclusions, only some of which establish that the defendant's negligence caused the plaintiff's injury, the expert must explain to the fact finder why those conclusions are superior based on verifiable medical evidence, not simply the expert's opinion."  328 S.W.3d at 536.
The court's discussion in Jelinek is equally applicable here.  Nothing in this record explains why Dr. Brook's opinion Brown contracted an enterovirus from his "exposure to sewage water" is superior based on science.  Rather, his opinions rested on his ipse dixit.  As evidence of causation, his opinion testimony is legally insufficient.
I would reverse the judgment of the trial court and render judgment that Brown take nothing.  Because the Court does not, I respectfully dissent.

								James T. Campbell
									Justice



